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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                          Case No. 1:21-cr-00537-JMC
RYAN SAMSEL, et al.,

   Defendants.


                       GOVERNMENT’S UPDATED STATUS REPORT

        The United States of America respectfully seeks to provide the Court with the following

report to address this Court’s recent order, ECF 174, and to update a June 13, 2022 Status Report,

ECF 173:

        On June 15, 2022, this Court issued an Order To Show Cause, ECF 174, directing the

Federal Detention Center (FDC) in Philadelphia, Pennsylvania to make defendant Ryan Samsel

available for a video or telephone conference with his counsel during specified times on either

June 16, 2022 or June 17, 2022. Counsel for the FDC has confirmed and informed the prosecution

that the conference with defense counsel occurred on June 16, 2022 at 1:00 p.m., within the time

specified in this Court’s order.

        In its June 13, 2022 Status Report, the United States advised regarding this Court’s order

for a medical evaluation of the defendant that “the [Bureau of Prisons] BOP had requested its

contract medical scheduler to expedite the defendant’s appointment and the BOP is still waiting

for the appointment date.” ECF 173. The United States is now able to inform the Court that the
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evaluation with a vascular surgeon has been scheduled.

                                           Respectfully submitted,

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